                        7:21-cv-03193-DCC           Date Filed 05/22/24      Entry Number 221-1        Page 1 of 5
                                                  UNITED STATES DISTRICT COURT
                                                   DISTRICT OF SOUTH CAROLINA
                                                     (SPARTANBURG DIVISION)

                     JANEDOE
               Plaintiff/Petitioner/USA,                                      Case No.     7:21-CV-03193-DCC

               V.                                                                    Application/Af davit for
                     LIMESTONEUNIVERSITYFKA
               LIMESTONECOLLEGE,etal,                                                Pro Hac Vice Admission
               Defendant/Respondent.




               (1)     Name.               Sean                                                    Taheri
                                      First                   Middle                        Last

               (2)     Residence. I reside in the following state:     California
                       If a South Carolina resident, indicate months/years of residence:

               (3)     Business Address. I am an attorney and practice law under the name of or as a member of the
                       following rm:

                       Firm name:      QuinnEmanuelUrquhart & Sullivan, LLP
                       Mailingaddress;865 FigueroaStreet,10thFloor City/State/Zip Los Angeles, California 90017
                       Telephone number: (213) 443-3000
                       Facsimile number: (213) 443-3100
                       E-mail address:     seantaheri@quinnemanuel.com
                       (Application will not be considered without an e-mail address to receive electronic noti cation.)

               (4)     Jurisdiction of this Court. I, by execution of this Application and Af davit, consent and agree to
                       comply with the applicable statutes, laws, and rules of the State of South Carolina, with all
                       applicable federal statutes, laws, and rules, including Local Rules of the United States District
                       Court for the District of South Carolina (particularly, Local Civil Rule 83.I.08 and/or Local
                       Criminal Rule 57.1.08). I consent to the jurisdiction of the United States District Court for the
                       District of South Carolina in all matters of attorneyconduct."

               (5)     Regular Practice of Law. I am a member in good standing of the bar of the highest court of the
                       District of Columbia or the State of California               where I regularly practice law.
                       Attached is my certi cate of good standing.

               (6)      Additional Bar Membership. I have been admitted to practice before the following courts: (List all
                       of the courts Applicant has been admitted to practice before: United States District Courts; United
                       States Circuit Courts of Appeals; the Supreme Court of the United States; and courts of other
                       states or the District of Columbia.) By signing this Af davit, I certify thatI am a member in good
                       standing of each of the listed bars unless otherwise noted.

                       This District maintains a web site (www.scd. uscourts.gov) from which the federal and local rules
               of procedure and related materials may be obtained.
fi
 fi
 fi
     fi
     fi
          fi
                     7:21-cv-03193-DCC          Date Filed 05/22/24        Entry Number 221-1       Page 2 of 5



                   Court                                     Date Admitted                                 Good Standing
                        See Attachment Below                                                                OYes
                                                                                                           OYes
                                                                                                                     No
                                                                                                                      JNo
                                                                                                           OYes      No
          (7)      Pending Disciplinary Matters. Are you presently the subject of any formal suspension or
                   disbarment proceedings, and have you been noti ed by any disciplinary agency of the initiation of
                   formal procedures?                                                                     OYes No
                   (If "yes," give particulars, such as jurisdiction, court, date, grounds. Information to comply with
                   this paragraph may be provided in camnera but that fact shall be revealed below.)




          (8)      Curtailment of Prior Pro Hac Vice Admissions. Have you ever had any application for admission
                   pro hac vice in this or any other jurisdiction denied or any pro hac vice admission revoked?
                  OYes No
                    (If"yes," give particulars, such as date, court, docket number, judge, circumstances; attach a copy
                    of any order of denial or revocation.)



          (9)       Sanctions. Have you ever had any certi cate or privilege to appear and practice before any judicial
                    or administrative body suspended or revoked, or received a public reprimand or greater sanction?
                   OYes No
                    (If"yes," give particulars, e.g., judicial or administrative body, date of suspension, and
                   reinstatement.)




          (10)      Criminal Sanctions. Have you ever been convicted of a felony under the laws of the District of
                    Columbia or of any State or under the laws of the United States?
                   OYes XNo
                    (If "yes," give particulars, such as date, court, judge, circumstances, and ultimate disposition.)




          (11)     Present and Previous Pro Hac Vice in this Court. Have you, within the last ten (10) years, led an
                   application to appear pro hac vice in the United States District Court for the District of South
                   Carolina or another court in the state of South Carolina?
                   Yes No
                    (If"yes," give court, case name, docket number, and status of litigation, year of application, local
                    counsel of record in each case, and state whether application is pending or was granted.) Attach
                    additional pages ifnecessary.
                (1 of l):UnitedStatesDistrictCourtfortheDistrict ofSouthCarolina,
                                                                               SpartanburgDivision,JaneDoev.
          Limestone University f/k/a LimestoneCollege,et al, CaseNo. 7:20-CV-00947-DCC(consolidatedfor
          purposeswith theinstantcasefordiscovery),samelocalcounselof recordasindicatedin No. (12)below,
          applicationsubmittedconcurrently with theinstantapplication.

                                                              Page 2 of4
fi
     fi
     fi
                   7:21-cv-03193-DCC         Date Filed 05/22/24      Entry Number 221-1         Page 3 of 5


           (12)    Designated Local Counsel. Local counsel of record associated with Applicant in this case is:
                   Attorney Name:                           MarkGoddard; J.KennethCarter
                  Firm Name:                                 TurnerPadgetGrahamandLaney, P.A.
                  Street Address or Post Of ce Box:          Post Of ce Box 1509
                  City, State, and Zip Code:                  Greensville, South Carolina 29602
                  Telephone Number:                           (803)277-4334;(803)400-1542)
                  E-Mail Address:                              kcarter@turnerpadget.com

                  I understand that local counsel of record is required to: (1) personally sign each pleading, motion,
                  discovery procedure, or other document served or led in this Court; (2) accept service of all
                  pleadings and notices as required on behalf of all counsel for the party represented; (3) be present
                  at all pretrial conferences, hearings and trials, unless excused by the Court; (4) be prepared to
                  participate actively as may be necessary; and (5) assure compliance with Local Civil Rules
                  83.1.04, 83.1.05, and 83.1.06 or Local Criminal Rules 57.1.04, 57.I.05, and 57.I.06 as appropriate.
                  Local counsel of record may attend discovery proceedings.

           (13)   Associated Counsel. In addition to local counsel designated above, the following counsel are also
                  associated with the undersigned in this case:
                  DianeCafferata, MichaelE. Williams,RobertJ.Becher, and ElinorSutton of Quinn Emanuel
                  Urquhart& Sullivan,LLP


           (14)    Application Fee. I af rm that the application fee of three hundred and fty dollars ($350) has been
                  paid in accordance with Local Civil Rule 83.I.05 or Local Criminal Rule 57.I.05 or paid herewith.

           (15)   Electronic Noti cation. By submitting this application, I consent to electronic noti cation.

           (16)   Represented Party/Parties. I seek to represent the following party/parties:
                  MGFreesites,LTD. MGFreesitesLL LTD.,MindGeekS.A.R.L.,MindGeekUSA,Inc.




           (17)   I certify that I have read Local Civil Rule 30.04 regarding the conduct of depositions.




                                                                        Signature of Applicant

           Sworn to and subscribed before me
           this      day of              ,20
                                                           See
                                                            AHochecl
           A Notary Publíc
           of the Staế of

           MyCommission expires:


                                                         Page3 of4
fi
fi
 fi
     fi
     fi
      fi
      fi
         7:21-cv-03193-DCC        Date Filed 05/22/24       Entry Number 221-1     Page 4 of 5




BARS:
    BarAdmitted                                                                  Admission Date
        California                                                                   12/04/2013
        District of Columbia                                                         11/07/2014

UNITED STATES APPELLATE COURTS:                                                  Admission Date

        United States Court of Appeals for the Ninth Circuit                          12/13/2013

UNITED STATES DISTRICT COURTS:                                                   AdmissionDate

    FederalCourts Admitted:
    Central District of California                                                   12/18/2013
    Western District ofTennessee                                                     03/25/2015
    Northern District of California                                                  12/09/2015




                                              Page 4 of 4
           7:21-cv-03193-DCC                      Date Filed 05/22/24        Entry Number 221-1                Page 5 of 5




          CALIFORNIA JURAT                                                                      GOVERNMENT CODE S 8202




            A notary public or other of cer completing this certi cate veri les only the identity of the individual who signed
            the document to which this certi cate is attached, and not the truthfulness, accuracy, or validity of that document.




          State of California

          County of LOSANGELES


                                                                      Subscribed and sworn to (or af rmed) before me on

                                                                      this 22ND       day of MAY                    2024           by
                                                                             Date                   Month               Year

                              LUCLLE CLARK                            (0)
                                                                                 SEAN TAHERI
                         Notary Public - California
                           Los Angeles County
                         Commission#2433025
                         Comm. Expir es Jan 28, 2027
                                                                      (and (2)                                                      ).
                                                                                            Name(s) of Signer(s)

                                                                      proved to me on the basis of satisfactory evidence to
                                                                      be the person(s) who appeared before me.




                                                                      Signature
                Place Notary Seol and/or Stomp Above                                       Signature of Notary Public




                                                               OPTIONAL

                                 Completing this information can deter alteration of the document or
                                  fraudulent reattachment of this form to an unintended document.

            Description of Attached Document

            Title or Type of Document:

             Document Date:                                                           Number of Pages:

            Signer(s) Other Than Named Above:.




          2019 National NotaryAssociation
fi
fi
 fi
     fi
     fi
